EXHIBIT A
11259

                                                             CONSUMER CREDIT TRANSACTION
                                                            IMPORTANT!! YOU ARE BEING SUED!!
                                                           THIS IS A COURT PAPER-- A SUMMONS
  ~     DON'TTHROWITAWAY!! TALKTOALAWYERRIGHTAWAY! PAR'' OFYOURPAYCANBETAKEN
        FROM YOU (GARNISHEED). IF YOU DO NOT BRING TillS TO COURT, OR SEE A LAWYER, YOUR
        PROPERTY CAN BE TAKEN AND YOUR CREDIT RATING CAN BE HURT!! YOU MAY HAVE TO PAY
        OTHER COSTS TOO!!! IF YOU CAN'T PAY FOR YOUR OWN LAWYER, BRING THESE PAPERS TO TIDS
        COURT RIGHT AWAY. THE CLERK (PERSONAL APPEARANCE) WILL HELP YOU!

        CIVIL COURT CITY OF NEW YORK
        COUNTY OF BRONX
        STATE OF NEW YORK                                                                    File No.
                                                                                             Index No.
        PALISADES ACQUISITION XVI, LLC                                                       File Date:
                                                                                                            0023781
        ASSIGNEE OF DIRECT MERCHANTS BANK
        210 SYLVAN AVENUE
                                                                                         SUMMONS
        ENGLEWOOD CLIFFS NJ 07632                                                        The basis of Venue is
                                                                  Plaintiff              Defendant's Residence

        -against-

        PATRICIA HUNTER
        4375 BRUNER AVE
        BRONX NY 10466

                                                                  Defendant(s)


        TO THE ABOVE NAMED DEFENDANT(S):

             YOU ARE HEREBY SUMMONED TO APPEAR in the Civil Court of the City of New York,
        County of BRONX   , at the Office of the Clerk of the said Court
        at 851 GRAND CONCOURSE

           BRONX             NY   104510000, in the County of BRONX   , City and State of
        New York, within the time provided by law as noted below and to file your answer to
        the annexed complaint with the Clerk; upon your failure to answer, judgment will be
        taken against you for the sum of $ 2572.21 with interest from 1110312006, together
        with the costs of this action.

        Dated:         03127107
                       Rochester, New York                                    /------- · ·
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                                                                      / Patricia A. Blair I Maria J. Reed
                                                                        Christa L. Muratore I Fatimat 0. Balogun
                                                                        Wolpoff & Abramson, L.L.P.
                                                                        Attorneys in the Practice of Debt Collection
                            ,.,f.fl; ·-   ~J   ?fifJ7
                                                                        Attorneys for Plaintiff
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                                                                        300 Canal View Blvd., 3rd Fl., Rochester, NY 14623
                                                                        Telephone: 1-800-830-2793 Court Inq: 1-585-413-4020
        NOTE:     BRDfW\~J~tif!V that:
          (a) If this sumrnoh~ !s served by its delivery to you personally within the City of
        New York, you must appear and answer within TWENTY (20) days after such service; or
          (b) If this summons is served by delivery to any person other than you personally,
        or is served outside the City of New York, or by publication, OR BY ANY MEANS OTHER
        THAN PERSONAL DELIVERY TO YOU WITHIN THE CITY OF NEW YORK, you are allowed THIRTY (30)
        DAYS AFTER THE PROOF OF SERVICE THEREOF IS FILED WITH THE CLERK OF THIS COURT within
        which to appear and answer.
        NYSUM (12/16,1)4)
        NYCSUMINYCSNS                          W&A FILE NO. 170207065
v!VIL COURT CITY OF NEW YORK
COUNTY OF BRONX
STATE OF NEW YORK

PALISADES ACQUISITION XVI, LLC


ASSIGNEE OF DIRECT MERCHANTS BANK
210 SYLVAN AVENUE

ENGLEWOOD CLIFFS NJ 07632                                                                COMPLAINT
                               Plaintiff

-against-

PATRICIA HUNTER
4375 BRUNER AVE
BRONX NY 10466

                               Defendant(s)


The Plaintiff for a complaint against Defendant(s) alleges upon information and belief:

     1.   That at all times relevant to this action , the Plaintiff was and still is
A DELAWARE LIMITED LIABILITY COMPANY               , having an office and place for the
regular transaction of business at the address set forth above.

     2.   Upon information and belief, at the time of the commencement of this action
the Defendant(s) resided at the address in the caption of this action in the County
of BRONX    and State of New York.

     3.   That     Defendant(s) entered into a Credit Card Agreement, account
number • •         7232         with DIRECT MERCHANTS BANK
wherein        was extended to Defendant(s) and Defendant(s) agreed to repay any
monies advanced.

     4.   During the past six years, pursuant to said agreement, Defendant(s) or
persons authorized by the Defendant(s) incurred indebtedness through the use of one
or more credit card~ issued in the name of Defendant(s) under said agreement.

     5.     Plaintiff has purchased said account for value and is now the owner thereof.

     6.   That Defendant(s) has defaulted in Defendant's obligation under said
agreement and there is now justly due and owing to the Plaintiff from the Defendant(s)
as a result of said default the sum of $ 2572 . 21.

     WHEREFORE, Plaintiff demands judgment against the Defendant(s) for the sum of
$  2572 . 21 with interest from 11/03/2006 together with the costs and disbursements
of this action .
                                                 ,............._
Dated :   03/27/07                         '//                     - ---
                                                                           _ ., ---~ ·




                               By:  /c_/ .
                                 /~Patricia A. Blair   I Maria J. Reed
                                     Christa L. Muratore I Fatimat 0 . Balogun
                                     Wolpoff & Abramson, L.L.P.
                                     Attorneys in the Practice of Debt Collection
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